
In re Cousin Jr., John G.; — Plaintiff; Applying For Supervisory and/or Remedíal Writs, Parish of St. Tammany, 22nd Judicial District Court Div. E, No. 265831; to the Court of Appeal, First Circuit, No. 2009 KW 1132.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172. Cf. La. C.Cr.P. art. 930.4(D).
WEIMER, J., recused.
